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          Exhibit A
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QUARTERLY STAFFING REPORT




                                                                                      QUARTERLY CORRECTIONAL STAFFING REPORT
                                                                                                         Braggs, et al. v. Hamm, et al., In the United States District Court
                                                                                                             for the Middle District of Alabama, Northern Division,
                                                                                                                            Case No. 2:14-cv-00601-MHT.

                                                                                                                                   Dated: September 1, 2023

                                                                    QUARTERLY CORRECTIONAL STAFFING REPORT FOR THE QUARTER ENDING JUNE 30, 2023

                                               Correctional Staffing 1 (Includes CCO, BCO, CO, Sr. CO and “Factored” Part-Time Retirees)                                   Correctional Supervisors
                                                                                                                                       Staff with                                                             Staff with
                               CCO     BCO    CO    COT        PT          PT     Sr. CO                Q2           Q2 – 2023          ADOC in                                              Q2 – 2023        ADOC in            6/30/23         Q2-2023                    Q2 – 2023
                                                                                          6/30/23      Ending         Attrition         Excess of               6/30/23   Q2 Ending           Attrition       Excess of        Correctional      Turnover       Retention    Vacancy
                   Assigned    Act.    Act.   Act.   Act.    Act.         Fact.   Actual  Actual     Vacancies       Vol     Inv       12 Months    Assigned    Actual     Vacancies         Vol      Inv     12 Months           Staff            Rate           Rate        Rate

    Bibb            276.26       1      22     4       6       8         4       25         62        214.26          2                   44         32.5         19         13.5              0                 19               81              2.5%           77.8%       73.8%
    Bullock         278.36       8      15     1       1       8         4       37         66        212.36          3      1            62         43.81        11         32.81             3                 11               77              9.1%           94.8%       76.1%
    Donaldson       364.38       3      19     2       5       18        9       57         95        269.38          1                   81         43.6         23         20.6              1                 23               118             1.7%           88.1%       71.1%
    Draper                       0       3     0       0       0         0       14         17         -17            0                   17                      7           -7               0                  7               24              0.0%          100.0%
    Easterling      210.41       9      12     1       6       8         4       29         61        149.41          6                   50         31.4         12         19.4              1                 12               73              9.6%           84.9%       69.8%
    Elmore          146.85       1      13     7       7       8         4       30         62        84.85          3.5                  48         36.6         21         15.6              0                 21               83              4.2%           83.1%       54.8%
    Fountain        195.31       0      11     0       1       20       10       29         51        144.31          3      2            49         39.34        13         26.34             0                 13               64              7.8%           96.9%       72.7%
    Hamilton
    A&I              40.2        0      15     3       6       3       1.5       39       64.5         -24.3          5                  51.5        13.2         13          0.2              0                 13              77.5             6.5%           83.2%      -45.1%
    Holman          112.95       4       8     0       5       11      5.5       20       42.5        70.45           2                  34.5        30.71        13         17.71             1                 13              55.5             5.4%           85.6%       61.4%
    Kilby           270.3        1      17     4      17       19      9.5       76       124.5       145.8           4                  98.5        50.7         26         24.7              0      1          26              150.5            3.3%           82.7%       53.1%
    Limestone       321.24       2      13     5      12       22      11        58        101        220.24          2                   83         49.17        35         14.17             0                 35               136             1.5%           86.8%       63.3%
    St. Clair       304.18       1      23     9       4       24      12        57        106        198.18         9.5     1            88         40.6         25         15.6              1                 25               131             8.8%           86.3%       62.0%
    Staton          260.03      12      13     1       6       22      11        32        75         185.03          7                   60         26.41        21         5.41              0                 21               96              7.3%           84.4%       66.5%
    Tutwiler        188.26       9      32     5       7       12       6        32        91         97.26           8                   67         26.4         23          3.4              0      1          23               114             7.9%           78.9%       46.9%
    Ventress        221.26       3      16     0       4       16       8        22        53         168.26          3                   43         26.3         9          17.3              0                  9               62              4.8%           83.9%       75.0%

        TOTAL      3189.99      54     232     42     87      199      99.5      557      1071.5     2118.49          59     4          876.5       490.74        271       219.74             7      2         271              1342.5           5.4%           85.5%       63.5%




1
    The Quarterly Correctional Staffing Report provides a breakdown of the total number of Correctional Cubicle Operators (“CCOs”), Basic Correctional Officers (“BCOs”), Correctional Officers (“COs”), and Senior Correctional Officers (“Sr. COs”) by position.


SEPTEMBER 1, 2023 REPORT
